%;)&Q)/-EW -§iiyi,',e@_@§rtgm§mg_lté¢l Entered 011 FLSD Docl<et 11/22/2017 Page 1 of 3
______'_l__m_ 4425 Ponce de Leon Bivd., 5"‘ Floor
LoANsEvacmo Cora| Gab|es, FL 33146

October 10, 2017

John Civetti

Donna Finke|

C/o Advocacy Group

333 Las O|as Way C, Unit 3, Suite 311
Fort Lauderdale, FL 33301

man Number_

Case Number: 10000045817

Fort Lauderdaie, FL 33304

Dear l\/|r. Finke| and Ms. Finke|:

Th§ Customer Support D§partm§nt at Bayv'_iew Loan Servicing, Lch (”BLS") acting as agent for lvi§`l' B§nk
(”Ni&T") has rev1ew§d "Notice of Error" recelv§d August 28, 2017. * '1 ' -° ' ~ -- -'»

M§T is i1`1 th§ process of addressing the recent correspondence received. Once the research is completed, a
response from M&T will b§ mailed to you under separate cover.

BLS previously addressed the concerns set forth in the ”Notice of Error" detailed above in a written response,
dated Jun§ 27, 2017. P|ease find enclosed a copy of the written response for reference.

As of the date of this letter, the loan is due for the Octob§r 1, 2017, monthly installment

' You are entitled t_o request additional documentation regarding this inquiry. if you wish to do so, please submit a

request to our Customer Support D§'partment via fax at 305- 631- 5660. A|tern'ative|y, you may submit a request
via email to customers§rvice@bayvi§wloanservicing. corn or via regular mail to the mailing address referenced
below. _ -

Sincerely,

Jonathan Rojas
Bay\`/i§W Loan Servi`cing, LLC
Customer$upport Department':"'*"`*" 1" ‘~‘ f` -¢'- ; -. -. ~ -.' §§ _._;

Bayview toa`n Servrcing, i.LC' is a debt coilector. This |ett§r' ls an‘ attempt to collect a debt and any information obtained will be used for that purpose. To the extent that your
obligation has been discharged 01- is subjec`tto an automatic stay of bankruptcy this notic_e is for compliance and informational purposes only and does not_ constitute a demand'
for payment or any attempt to collect such obligation . . ~

The following mailing address must be used for ali Error Notices & information Requests:
Bayview Loan Servicing, LLC, Customer Support, 4425 Ponce de Leon Bou|evard, 5"' F|oor, Corai Gables, FL 33146

Propert'y Addr§ss:"SlO N'Vict'oria Park‘Road~'~' ~~ ~ f ' ~

- ¢:17-cv-62305-UU Document 1_-41 Entered on FLSD Docl<et 11/22/2017 Page 2 of 3

 
  

 

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' ev§'.rm_ri_;~;`_i:`n‘,i,i_i‘,ir»ri;v ' Coral Gab|es. Fl_ 33146

June 27, 2017

John Civetti

Donna Finkel

C/o Advocacy Group

333 Las O|as Way C, Unit 3, Suite 311
Fort Lauderdale, FL 33301

w v LoanNumber:-

`Case Numb'er`:`lb`()f)"(5038`029 " ` ' "' ““'“~"'~ "
Property Address: 810 N Vlctoria Park Road
Fort Lauderdale, FL 33304

Dearlohn Civetti and Donna Finl<el»;

The Customer Support Department at Bayview Loan Servicing, LLC ("BLS"), acting as agent for M&T Bank
(”M&T”), has reviewed the ”Notice of Error" received, dated May 12, 2017.

in response to your request for mortgage statements, BLS has enclosed all of the mortgage statements sent to
you at the mailing address of record starting on February 15, 2014.

Enclosed for your review is an Annua| Escrow Account D-isclosure Statement dated Novemher 70, 2015-, and an
Annua| Escrow Account Disc|osure Statement dated November 22, 2016. Each escrow analysis details changes in
the |oan's monthly installment amoun.t.

The loan remains due for the June 1, 2017, monthly installment _an‘d all subsequent payments. Be|ow, please find
a breakdown of the payments received from December 2016 through May 2017 and their applications.

 

 

 

 

 

 

 

 

 

y VDate Received ;i` Amount Mo'nthlyinstallmentSatisfi.ed_,`_
‘§.'December 2,2016 ' " , " _ if$2,17,2e._5..,,2 '_" W; A`D`ec'-:'¢`a'rn_be'r2016 ' " " " 4
§§ Febru"ary 1,_;017 " . "$2,172.5`_2 _ _ e`January 2017

5 March 6, 2017 $2,172.52 ` " __=';Feb.ruar...y,_zQ_:Lz`i._lj__f_`1_______ '
i-"A.p_ri.l?$;iz"ii_l?) '_ . " . , _' " ,.$.`2`,167.._6"2 ` ' ""`_‘?P*'M`§'r'f€ii"?`@i`?` '

..Ma"y 4',`2017' ' ' ' ' »$2,167.62 ee.Apri12017

luna 5,2017 . $2,167.62 _, " 'Mayzolj

 

 

 

 

P|ease be advised that a_ll of the payments listed above were applied on the same date they were received by
BLS. At this time, no adverse credit reporting has been communicated to the credit bureaus; however, late fees
have been assessed to the loan account as follows:

The following mailing address must be used for all Error Notices & information Requests:
Bayview Loan Servicing, lLC, Customer Support, 442$ Ponce de Lcon Boulevard, 5"` Floor, Coral Gab|es, Fl. 33146

“"“ 'c:r`aieabies 1= 33146

Assessed
Janua 17, 20_17

_ l~`ebruary 017

l\/lar'ch 16, 2017
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June 16;

otal:

 

BL$ has reviewed the loan s payment history and has determined that all late charges assessed are valid and will

remain on the loan’ s account until paid 1n full P|ease review the loan' s payment history enclosed for reference.

B~LS would like to afford customers every opportunity to be reviewed for all possible alternatives to foreclosure,
which may include a forbearance, loan modification, short saie, or deed~in~lieu of foreclosure P|ease contact the
loan’s Asset l\/ianager, Bobbie l\/icGloth|in, at 8'77-248~42`63 to discuss the options that may be available to your
c|ient.

BL~S has enclosed all supporting documentation used to completethe review on this account. You are entitled to
request additional documentation regarding this inquiry. lfyou wish to do so, please submit a request to our
Customer Support Department via fa)< at 305~631-5660. Alternatively, you may submit a request via email to
customerservice@bayviewloa;nservicing.com or via regular mail to the mailing address referenced below.

Sincere|y,

Jonatha:n Rojas
Bayview Loan Servicing, LLC

.Custo_mer Support Departm'ent

Phone Number: (877) 691-1974
lVlonday - Friday 9:00 a.m. ~ 5:00 p.m., Eastern

Enclosures

Bayview Loan Servlclng LLC' is a debt collector This letter is an attempt to collect a debt and any information obtained will be used for that purpose i"o the extent that your
obligation has been discharged or is subject to an automatic stay of bankruptcy this notice is tor compliance and informational purposes only and does not constitute a demand
for payment or any attempt to collect ucl\ obligation

The following mailing address must be used for all Erior Notices & information Requests:
i|\

Bayview Loan Servicing, LLC, Customer Support, /lliZS Ponce de Leon Bou|eva_rd, 5 Floor, Corai Gables, FL 33146

     

